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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
EASTERN DIVISION
FELICIA DANIEL, Individually and
as Executrix of the Estate of Bobby
Eugene Daniel PLAINTIFF
v. No. 2:15-cV-116-DPM

BANK OF AMERICA N.A.; ]OHN DOE
and ]ANE DOE DEFENDANTS

]UDGMENT

The amended complaint is dismissed With prejudice

 

D.P. Marshall ]r.
United States District ]udge

 

